            Case 2:04-cr-00257-MJP             Document 71    Filed 03/07/12      Page 1 of 2




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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,              Case No. CR04-257-MJP

10          v.                                            DETENTION ORDER

11 TONY HUYNH,

12                                Defendant.

13          Defendant pled guilty to conspiracy to distribute marijuana after being released on an

14 appearance bond. On October 29, 2004, defendant failed to appear for sentencing and a warrant

15 for his arrest was issued. On February 27, 2012 defendant was arrested. The Court conducted a

16 detention hearing pursuant to Title 18 U.S.C. § 3142(f), and found that no condition or

17 combination of conditions which the defendant can meet will reasonably assure the appearance

18 of the defendant as required and the safety of any other person and the community.

19               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          In view of the history of this case, defendant stipulated to detention. Given defendant’s

21 failure to appear for sentencing defendant’s appearance bond and release order is revoked.

22          It is therefore ORDERED:

23          (1)     Defendant shall be detained pending sentencing and committed to the custody of



     DETENTION ORDER - 1
              Case 2:04-cr-00257-MJP        Document 71        Filed 03/07/12      Page 2 of 2




 1 the Attorney General for confinement in a correctional facility separate, to the extent practicable,

 2 from persons awaiting or serving sentences, or being held in custody pending appeal;

 3          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 4 counsel;

 5          (3)    On order of a court of the United States or on request of an attorney for the

 6 Government, the person in charge of the correctional facility in which Defendant is confined

 7 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 8 connection with a court proceeding; and

 9          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

10 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

11 Officer.

12       DATED this 7th day of March, 2012.

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                                                          A
                                                          DEAN BRETT
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
